                 Case 1:23-cv-00783-DII Document 4 Filed 07/14/23 Page 1 of 1

                                       United States District Court
                                        Western District of Texas
                                                 Austin
                                           Deficiency Notice


To:           Steffensen, Peter B.
From:         Court Operations Department, Western District of Texas
Date:         Friday, July 14, 2023
Re:           01:23-CV-00783-DII / Doc # 2 / Filed On: 07/13/2023

Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it is
deficient in the area(s) checked below. Please correct the deficiency(ies), as
noted below, and re-file document IMMEDIATELY. When re-filing document,
other than a motion, please ensure you add ‘corrected’ to the docket text. If
the document you are re-filing is a motion, select ‘corrected’ from the drop-
down list.

If an erroneous filing results in failure to meet a deadline, you will need
to seek relief, for any default, from the presiding judge.
The requested summons cannot be issued because you listed multiple defendants on the same
summons. Each defendant is issued a separate summons. Please resubmit your request with one
summons per defendant. You may include multiple summonses within a single PDF document/
request.
